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UNITED STATES DISTRICT COURT
                                                                             FILED

SOUTHERN DISTRICT OF NEW YORK                                           BANKRUPTCY COURT
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                                                                         8.D. OF N.Y.
IN RE:                                             Chapter 13 Case No: 19-23985

SAMANTHA G. JENKINS,                               AFFIDAVIT IN SUPPORT

                            Debtor.




SAMANTHA G. JENKINS, being first duly sworn under penalty of perjury, deposes
and says:

   1. I am the debtor herein.


   2. I filed a chapter 13 bankruptcy petition on November 12. 2019. and said

         bankruptcy petition is pending.

   3. The referee, Kenneth Bunting. Esq., has scheduled the sale by public

         auction of my home.

   4. Upon information and belief, the scheduled auction is in direct and clear

         violation of the automatic stay that attaches with such a filing.

   5. Upon information and belief, unless and until the Bankruptcy Court issues

      an order removing the automatic stay there can be no substantial activity

         without the permission of the court. The court has issued no such order.

   6. Upon information and belief, a "Relationship Manager" says that the

      Trustee herein, Krista M. Preuss. gave the permission to auction my home.
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   7. Upon information and belief, the office of the Trustee maintains that no


       such permission was ever so granted by either the court or the Trustee.

   8. That the foreclosure proceeding related to my home is based on

       misconduct,fraud, unethical and illegal business practices (which was the

       basis and cause for the initial mortgage conflict}.

   9. That I seek an order from the court commanding all parties to cease and

       desist the above described auction activity.


WHEREFORE,the debtor prays that an order issue commanding the parties to

cease and desist all unauthorized activity pending the further orders of the court,

and for such other and further relief as the court may deem just, equitable,and

proper.



Dated: February 6. 2020

                                                      Respectfully,

                                                                           —   -




                                                     SAMANTHA G.JENKINS
          DOI^NEU BRIDGES
     Notary Public State of New York
           No.01BR6020836
                                                      Debtor pro se
     Qualified in Westchester County
   Commission Expires March 8,20                     24 Montgomery Place

                                                      New Rochelle, N.Y. 10804

SWORN TO BEFORE ME THIS^'^DAY OF
FEBRUARY,2020.
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                                                        Pg 3 of 7
                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF NEW YORK
                                               300 Quarropas Street
                                                    White Plains, NY 10601


         IN RE: Samantha G. Jenkins                              CASE NO.: 19-23985-shI

         Social Security/Taxpayer ID/Employer ID/Other Nos.:     CHAPTER: 13
         xxx-xx-6198




                       NOTICE OF RESCHEDULED CONFIRMATION HEARING DATE




         The Chapter 13 confirmation hearing scheduled for January 15, 2020 will now be held on January 8,2020 at 9:30AM
         before the Honorable Sean H. Lane, U.S. Bankruptcy Judge in Courtroom 164, at the U.S. Bankruptcy Court, 300
         Quarropas Street, White Plains, New York 10601.



         Dated: December 6, 2019                                    Vito Genna
                                                                    Clerk of the Court




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             iSEiTOINafe.

December 27,2019




                    SAMANTHA JENKINS
                    OMIEL JENKINS
                    24 MONTGOMERY PL
                     NEW ROCHELLE, NY 10804-0000




Account Number:            0015155708
Property Address:          24 MONTGOMERY PL
                           NEW ROCHELLE, NY 10804

Dear Customer(s):

Select Portfolio Servicing, Inc. (SPS), the mortgage servicer on the above referenced account, is notifying you that a
foreclosure sale of the above noted property has been scheduled for 02/19/2020. Please contact us immediately If you
have any questions.

If you have any questions, you may contact your assigned Relationship Manager, Setaita Tanaki, at 866-820-6218
Ext. 38283 or by email at Relationship.Manager@SPServicing.com.

If you have any questions regarding your account, please contact SPS toll free at 888-818-6032. Representatives are
available Monday through Thursday between the hours of 8 a.m. and 11 p.m., Friday from 8 a.m. to 9 p.m., and
Saturday from 8 a.m. to 2 p.m.. Eastern Time. You may also visit our website anytime at wvwv.sDservicina.com.
Sincerely,

Select Portfolio Servicing, Inc.

Please note that SPS is sending this to you to provide information regarding the lien on the real property referenced
above. Our records indicate that your obligation has been discharged under the United States Bankruptcy Code. This
notice and any enclosed documents are for compliance and informational purposes only and do not constitute a
demand for payment or an attempt to collect such obligation. Even though your personal liability on the note may be
discharged, the terms of the mortgage remain in effect and the owner of the mortgage, as lien holder, continues to
have a lien on the real property.

   Esta carta contiene informacion importante concerniente a sus derechos. For favor, traduzca esta carta.
  Nuestros representantes bilingues estan a su disposicibn para contestar cualquier pregunta. Llamenos al
                            numero 800-831-0118 y seleccione/marque la opcidn 2.
                      This information is intended for informational purposes only and is not
                                     considered an attempt to coliect a debt.


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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

                                          X

IN RE:                                             Chapter 13 Case No: 19-23985

SAMANTHA G. JENKINS,                               PROOF OF SERVICE

                            Debtor.




SAMANTHA G. JENKINS, being first duly sworn under penalty of perjury, deposes
and says:

         1. That I am the debtor in the above captioned bankruptcy proceeding.
         2. That I have placed a copy of these papers (Notice of Motion and
            Affidavit in Support) in the United States Mail for delivery as noted to,
BY EXPRESS U.S. MAIL - OVERNIGHT DELIVERY

Hon. Sean H. Lane, Judge

Chambers

U.S. Bankruptcy Court

for the Southern District of N.Y.

300 Quarropas Street

White Plains, N.Y. 10601



BY EXPRESS U.S. MAIL - OVERNIGHT DELIVERY

Hon. Krista M. Preuss

Chapter 13 Trustee

399 Knollwood Road,Ste 102

White Plains, N.Y. 10603
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Eckert Seamans Cherin & Mellott,LLC
Attorneys for Plaintiff

10 Bank Street-Suite 700

White Plains, N.Y. 10606



EMC MORTGAGE GGRPGRATIGN

909 Hidden Ridge Drive

Suite 200

Irving, TX 75038



SELECT PORTFOLIO SERVICING,INC.

Att: Relationship Manager

Att: Legal Department

3217 S. Decker Lake Dr.

Salt Lake City, Utah 84119



 Dated; Februarv 6.2020
                                                      Respectfully,


             donnell bridges
        Notary Public State of New York
              No 01BR6020836
                                                      SAMANTHA G.JENKINS
        Qualified in Westchester County
     Commission Expires March 8. 2n .33               Debtor pro se

                                                      24 Montgomery Place

                                                      New Rochelle, N.Y. 10804
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

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IN RE:                                               Chapter 13 Case No: 19-23985

SAMANTHA G.JENKINS,                                  NOTICE OF MOTION

                                Debtor.




      PLEASE TAKE NOTICE,that upon the annexed affidavit,the debtor,
Samantha G.Jenkins will move this court before the Honorable Sean H. Lane,
United States Bankruptcy Court Judge, at the United States Bankruptcy Court, 300
Quarropas Street, White Plains, N.Y.10601, on February 1 0 , 2020, at 10 a.m., or as
soon thereafter as the matter can be heard, for an order pursuant to the United
States Bankruptcy Code directing a creditor to cease and desist activity related to
the debtor,and for such other and further relief as the court may deem just,
equitable,and proper.

      PLEASE TAKE FURTHER NOTICE,that this is an emergency proceeding, asset
forth more fully in the annexed affidavit, and responsive papers may be filed with
the Bankruptcy Court and served upon the debtor with time of essence
expediency.

Dated: February 6, 2020

                                                      Respectfully,



                                                     SAMANTi          JENKINS
           DONNE^Ffeeii^
      Notary Public State of New York
            No. 01BR6020836                           Debtor prose
     Qualified in Westchester Countv
   Commission Expires Marnh a on !!?<e
                                                     24 Montgomery Place

                                                      New Rochelle, N.Y. 10804
